     Case 2:14-cr-00021-RMP     ECF No. 682    filed 05/14/14   PageID.1954 Page 1 of 2




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 3
 4                        UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                      No. 2:14-CR-021-RMP-23

 8                     Plaintiff,                 ORDER GRANTING
 9 vs.                                            DEFENDANT’S MOTION
                                                  TO MODIFY
10 BRETT A. LUTON,
                                                  ☒      Motion Granted
11
                 Defendant.                              (ECF No. 679)
12
13         Before the Court is Defendant’s Motion to modify his conditions of release.
14   ECF No. 679.
15         The United States objects, but has no objection to the Court ruling on the
16   Motion without oral argument.
17         IT IS ORDERED that the Defendant’s conditions of release, as stated in the
18   Order filed April 15, 2014, ECF No. 679, are modified to permit the Defendant to
19   travel to Great Falls, Montana, for a hearing on May 22, 2014, on a charge of
20   driving with license suspended, understanding that conviction carries a mandatory
21   2-day sentence.
22         Defendant is to make all reasonable efforts to immediately and completely
23   serve any sentence imposed and, further
24         Defendant is to advise his supervising Pretrial Services officer of any
25   sentence imposed, prior to beginning such sentence and, further
26         Defendant is to return to Spokane directly and immediately upon being
27   released from any such sentence, and to report immediately and in person to his
28   supervising Pretrial Services Officer, for reinstallation of any Electronic Home

     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY - 1
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 1   Monitoring device.
 2         All other terms and conditions of the Defendant’s pre-trial release shall
 3   remain the same, in full force and effect.
 4         DATED May 14, 2014.
 5
 6                                _____________________________________
                                            JOHN T. RODGERS
 7                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY - 2
